                        UNITED STATES DISTRICT COURT
                                                for

                    EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

U.S.A. vs. William Demetrius McFadyen                              Docket No. 5:95-CR-83-7BO

                         Petition for Action on Supervised Release

        COMES NOW Eddie 1. Smith, probation officer of the court, presenting a petition for
modi fication ofthe Judgment and Commitment Order of William Demetrius McFadyen, who, upon
an earlier plea of guilty to 21 U.S.c. §846 and 841(a)(I), Conspiracy to Possess with the Intent to
Distribute and to Distribute Cocaine Base (Crack) and 18 u.s.c. §924(c) and 2, Use and Possession
or a Firearm During and in Relation to a Drug Trafficking Crime, was sentenced by the Honorable
Terrence W. Boyle, U.S. District Judge, on February 29, 1996, to the custody of the Bureau of
Prisons for a term of270 months. It was further ordered that upon release from imprisonment the
defendant be placed on supervised release for 60 months under the standard conditions adopted by
the court and the following additional conditions:

I.     The defendant shall participate as directed in a program approved by the probation office for
       the treatment of narcotic addiction, drug dependency, or alcohol dependency which will
       include urinalysis testing or other drug detection measures and may require residence or
       participation in a residential treatment facility.

2.     The defendant shall submit a written weekly report to the probation office, if not regularly
       employed, of attempts to secure gainful employment.

3.     The defendant shall support his dependents.

       On June 16, 1996, pursuant to a Rule 35 Motion, the court amended the imprisionment
sentence to 168 months. William Demetrius McFadyen was released from custody on August 22,
2007. at which time the term of supervised release commenced. As a result of the defendant
committing the new criminal offense of Resisting Public Officer, the court modified the conditions
of supervision on November 5, 2008, to include the following:

       The defendant shall be confined in the custody of the Bureau of Prisons for a period of 5
       days, as arranged by the probation office and shall abide by all rules and regulations of the
       designated facility.

        RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR
CAUSE AS FOLLOWS: Since the defendant's release, he has only been sporadically employed
or in school. To assist him with job readiness skills, we are recommending that the conditions of
supervision be modified to include vocational training, cognitive behavioral training, and
educational services.




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       The defendant signed a Waiver of Hearing agreeing to the proposed modification of
supervision.

       PRA YING THAT THE COURT WILL ORDER that supervised release be modified
as follows:

1.     The defendant shall participate in a vocational training program as directed by the probation
       office. Such program may include job readiness training and skills development training.

2.     The defendant shall participate in a cognitive behavioral program as directed by the
       probation office.

3.     The otTender shall particIpate in an educational services program as directed by the
       probation officer. Such program may include GED preparation, English as a Second
       Language classes, and other classes designed to improve the offender's proficiency in skills
       such as reading, writing, mathematics, or computer use.

        Except as herein modified, the judgment shall remain in full force and effect.


Reviewed and approved,                               [ declare under penalty of perjury that the
                                                     foregoing is true and correct.

 /s/ Robert L. Thornton                               /s/ Eddie 1. Smith
Robert L. Thornton                                   Eddie 1. Smith
Supervising U.S. Probation Officer                   U.S. Probation Officer
                                                     310 Dick Street
                                                     Fayetteville, NC 28301-5730
                                                     Phone: (910) 483-8613
                                                     Executed On: July 12,2010

                                      ORDER OF COURT

Con'idercd and ordered this -iLday of           ~                   ,2010, and ordered filed and
made a part of the records in the above case.




Terrence . Boyle
U.S. District Judge


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